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signed to: Jt e Harvey, G: Michael
BO gO Og SE Ssign Date: 8/6/2021 .
a fe) Beseription: COMPLAINT W/ ARREST WARRANT

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Wes Indictment ‘C1 Information “s 0 Superseding Information i Complain
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Issuing officer's signature

 

ae ~~. G, Michael Harvey U.S. Magistrate Judge

 

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Case 1:21-mj-00555-GMH Document5 Filed 09/09/21 Page 2 of 7

AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

 

for the FILED
.o. . Sep 03, 2021
District of Columbia CLERK, US DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

 

 

 

United States of America

 

) Case: 1:21-mj-00555
v. ) Assigned to: Judge Harvey, G. Michael
) Assign Date: 8/6/2021
Benjamin Martin, ) Description: COMPLAINT W/ ARREST WARRANT
—
Defendant 1:21-MJ-00091 EPG
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) :

who is accused of an offense or violation based on the following document filed with the court:

O Indictment Cl Superseding Indictment O Information © Superseding Information J Complaint
C1 Probation Violation Petition [ Supervised Release Violation Petition {Violation Notice 9 Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 1752(a)(1) - Entering and Remaining in a Restricted Building or Grounds;
18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct ina Restricted Building or Grounds;
40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct in a Capitol Building;

 

40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building; . :

18 U.S.C. § 231(a)(3) - Obstructing Law Enforcement During Civil Disorder; . Digitally signed by

18 U.S.C. § 1512(c)(2) - Obstructing or Impeding an Official Proceeding. G. Michael Harvey
GA4m Date: 2021.08.06

Date: 08/06/2021 11:05:57 -04'00'

 

Issuing officer's signature

City and state: Washington, D.C. G. Michael Harvey U.S. Magistrate Judge

Printed name and title

 

 

Return

 

 

This warrant was received on (date) , and the person was arrested on (date)
at (city and state)

 

Date:

 

Arresting officer’s signature

 

Printed name and title

 

 

 
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Case 1:21-mj-00555-GMH Document 5 Filed 09/09/21 Page 3 of 7

AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

District of Columbia

 

United States of America Case: 1:21 -mj-00555
) Assigned to: Judge Harvey, G. Michael
Benjamin Martin, ) Assign Date: 8/6/2021
) Description: COMPLAINT W/ ARREST WARRANT
) .
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 6, 2021 in the county of in the
in the District of Columbia __, the defendant(s) violated:

 

Code Section Offense Description

18 U.S.C. § 1752(a)(1) - Entering and Remaining in a Restricted Building or Grounds;

18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct ina Restricted Building or Grounds;
40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct in a Capitol Building;

40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building;

18 U.S.C. § 231(a)(3) - Obstructing Law Enforcement During Civil Disorder;

18 U.S.C. § 1512(c)(2) - Obstructing or Impeding an Official Proceeding.

This criminal complaint is based on these facts:

See attached statement of facts.

iN Continued on the attached sheet.
> Ladbettarn

Complainant's signature

 

Connor L, Ledbetter, Special Agent
Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1

by telephone. 3
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Date: 08/06/2021

Digitally signed by G.
_ Michael Harvey

Date: 2021.08.06

11:07:32 -04'00'
Judge's signature

 

 

City and state: Washington, D.C. G. Michael Harvey, U.S. Magistrate Judge

Printed name and title
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Case 1:21-mj-00555-GMH Document 5 Filed 09/09/21 Page 4of7

AO 458 (Rev. 10/95) Appearance *% 7” =

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

APPEARANCE

Case Number: 21-MJ-91-EPG

To the Clerk of this court and all parties of record:

Enter my appearance as counsel in this case for

BENJAMIN MARTIN
(Defendant's Name)

I certify that I am admitted to practice in this court.

Date: August 8, 2021. /s/ ROGER T. NUTTALL
Signature

ROGER T. NUTTALL
Print Name

42500
State Bar Number

 

2333 MERCED STREET
Address

FRESNO, CA 93721
City Zip Code

(559) 233-2900

Phone Number

angel@nuttallcoleman.com
E-Mail Address

 

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US. District Court
Eastern District of California - Live System (Fresno)
CRIMINAL DOCKET FOR CASE #: 1:21-mj-00091-EPG-1

Case title: USA v. Martin Date Filed: 09/03/2021

Other court case number: 1:21-mj-00555 U.S. District Court
for the District of Columbia

 

Assigned to: Magistrate Judge Erica P.
Grosjean

Defendant (1)

Benjamin Martin represented by Roger Taylor Nuttall
Nuttall & Coleman
2333 Merced St.
Fresno, CA 93721
559-233-2900
Fax: 559-485-3852
Email: angel@nuttallcoleman.com
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Designation: Retained

Pending Counts Disposition
None

Highest Offense Level (Opening)

None
Terminated Counts Disposition
None

Highest Offense Level (Terminated)

None
Complaints Disposition
RULE S5(c)(3)

 

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Plaintiff
USA

 

Date Filed

Docket Text

 

09/03/2021

RULE 5(c)(3) ARREST and DOCUMENTS RECEIVED from District of
Columbia. Case 1:21-mj-00555 as to Benjamin Martin (1). (Rivera, O) (Entered:
09/03/2021)

 

09/03/2021

MINUTES (Text Only) for proceedings held via video conference before
Magistrate Judge Erica P. Grosjean: INITIAL APPEARANCE ON OUT-OF-
DISTRICT WARRANT RE COMPLAINT (USDC, DISTRICT OF
COLUMBIA) as to Benjamin Martin held on 9/3/2021. The hearing was
conducted via video and telephonically pursuant to General Orders 614, 620, 624,
628, 630, and 632 and the CARES Act. Defendant and counsel consented to the
appearance by video. Defendant advised of charges/rights; reading/advisement
waived; identity hearing waived; preliminary examination requested and ordered;
DENIAL ENTERED. Discovery/reciprocal discovery requested and ordered.
Pursuant to defendant's request, and with good cause found, the detention hearing
is set outside the statutory time-frame. DETENTION HEARING set for 9/8/2021
at 02:00 PM in Courtroom 10 (EPG) before Magistrate Judge Erica P. Grosjean
(defendant ordered temporarily detained pending said hearing). PRELIMINARY
EXAMINATION HEARING set for 9/17/2021 at 02:00 PM in Courtroom 7
(SKO) before Magistrate Judge Sheila K. Oberto. The court instructed
government counsel under Rule 5(f) to comply with its disclosure obligations
under Brady v. Maryland. Government Counsel: Joseph Barton (via Zoom)
present. Defense Counsel: Roger Nuttal (via Zoom) present. Custody Status:
Custody (via Zoom) present. Court Reporter/CD Number: ECRO - Alice Timken.
(Rooney, M) (Entered: 09/07/2021)

 

09/07/2021

ORDER (TEXT ONLY) as to Defendant Benjamin Martin signed by Magistrate
Judge Erica P. Grosjean on 9/3/2021: According to the Federal Rules of Criminal
Procedure Rule 5(f), the government is ordered to comply with its discovery
obligations as required by federal law, including those duties imposed by Brady
v. Maryland, 373 U.S. 83 (1963), and all applicable decisions interpreting Brady.
This order does not relieve any party of any other discovery obligation. The
consequences for violating this order or the government's obligations under Brady
may include sanctions, referral to a disciplinary authority, adverse jury
instruction, exclusion of evidence, and dismissal of charges, among other
consequences. (Rooney, M) (Entered: 09/07/2021)

 

09/08/2021

eS

NOTICE of ATTORNEY APPEARANCE: Roger Taylor Nuttall appearing for
Benjamin Martin. Attorney Nuttall, Roger Taylor added. (Nuttall, Roger)
(Entered: 09/08/2021)

 

09/08/2021

 

 

 

MINUTES (Text Only) for proceedings held via video conference before
Magistrate Judge Erica P. Grosjean: DETENTION HEARING as to Benjamin
Martin held on 9/8/2021. The hearing was conducted via video and telephonically
pursuant to General Orders 614, 620, 624, 628, 630, and 632 and the CARES Act.

 

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Defendant and counsel consented to the appearance by video. DETENTION
HEARING as to Benjamin John Martin held on 9/8/2021. The matter of detention
was argued and submitted, with the Court ORDERING DEFENDANT
RELEASED on the following conditions: Post a $15,000.00 cash bond, by 4:00
PM on 9/9/2021, to be replaced with a property bond posted and owned by Cary
Gray and Brian Martin, third party custody, which property is to be posted by
10/8/2021, surrender passport by 4:00 PM on 9/9/2021, do not apply/obtain
another passport and/or travel document during the pendency of these
proceedings, and on all other conditions as read into the record. Defendant's
release is delayed until the first working day at 8:30 AM following the surrender
of the passport and posting of the cash bond. Government Counsel: Joseph Barton
(via Zoom) present. Defense Counsel: Roger Nuttall (via Zoom) present. Custody
Status: Custody (via Zoom) present. Court Reporter/CD Number: ECRO - Otilia
Rosales. (Rooney, M) (Entered: 09/09/2021)

 

 

 

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